                          UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF TENNESSEE
                                  AT KNOXVILLE

 UNITED STATES OF AMERICA                         )
                                                  )
 v.                                               )      No.:   3:14-CR-085-09
                                                  )
 SAMUEL MIRACLE                                   )

                           MEMRAORANDUM AND ORDER


        By judgment dated March 11, 2015, this Court sentenced the defendant to a term of

 imprisonment of 120 months [Doc. 423]. Now before the Court is the defendant’s pro se

 motion for modification of sentence [Doc. 795] in which he moves for a two-level minor

 role reduction in his offense level, citing United States Sentencing Guidelines (“U.S.S.G.”)

 Amendment 794.

        Amendment 794 went into effect on November 1, 2015, altering Application Note

 3(A) of U.S.S.G. § 3B1.2 and adding a list of factors to Application Note 3(C). Guideline

 3B1.2 allows the court to reduce the offense level of a defendant who was a “minimal” or

 “minor” participant in the offense of conviction. Amendment 794 “provides additional

 guidance to sentencing courts in determining whether a [3B1.2] mitigating role adjustment

 applies.” U.S.S.G. app. C, amend. 794 (2015).

        The defendant’s request for retroactive application of Amendment 794 is addressed

 under 18 U.S.C. § 3582(c)(2). That statute gives district courts discretion to reduce the

 sentence “of a defendant who has been sentenced to a term of imprisonment based on a

 sentencing range that has subsequently been lowered by the Sentencing Commission . . . if




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 such a reduction is consistent with applicable policy statements issued by the Sentencing

 Commission.” 18 U.S.C. § 3582(c)(2).

        Guideline 1B1.10 is a policy statement issued by the Sentencing Commission.

 Guideline 1B1.10(d) lists the amendments that can be retroactively applied. Amendment

 794 is not on that list. A sentence reduction under Amendment 794 is therefore not

 “consistent with applicable policy statements issued by the Sentencing Commission,” and

 the defendant is not entitled to a sentence reduction under 18 U.S.C. § 3582(c)(2). See,

 e.g., Johnson v. United States, Nos. 2:16-cv-528, 2:10-cr-185, 2016 WL 6084018, at *2

 (S.D. Ohio Oct. 17, 2016) (“Amendment 794 is not retroactively applicable on collateral

 review. U.S.S.G. § 1B1.10 lists those Guidelines amendments that have been made

 retroactively applicable to defendants on collateral review, and Amendment 794 is not

 listed.”) (citations omitted).

        Were the defendant to rely on United States v. Quintero-Leyva, 823 F.3d 519 (9th

 Cir. 2016), and United States v. Carter, Nos. 15-3618, 15-3643, 2016 WL 5682707 (6th

 Cir. Oct. 3, 2016), he would fare no better. Quintero-Leyva and Carter hold only that

 Amendment 794 applies retroactively to cases on direct appeal to an appellate court.

 Quintero-Leyva, 823 F.3d at 523 (“We therefore hold that [Amendment 794] applies

 retroactively to direct appeals.”) (emphasis added); Carter, 2016 WL 5682707, at *6 (“We

 agree with [Quintero-Leyva] and adopt its reasoning.”).

        Because the instant defendant’s case is not in a posture of direct appeal, Quintero-

 Leyva and Carter do not apply. See, e.g., Klosowski v. United States, No. 12-cr-20458,

 2016 WL 6696023, at *1 (E.D. Mich. Nov. 15, 2016) (“Amendment 794 has not, however,

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 been held to be retroactive on collateral appeal” by Quintero-Leyva or Carter.); Johnson,

 2016 WL 6084018, at *2 (Quintero-Leyva “did not hold that such [retroactive] relief [under

 Amendment 794] is available on collateral review, and other courts have concluded that it

 is not.”) (citations omitted).

        For all the forgoing reasons, defendant’s motion for modification of sentence

 pursuant to Amendment 794 [Doc. 795] is DENIED.

        IT IS SO ORDERED.



                                     s/ Thomas W. Phillips
                                   SENIOR UNITED STATES DISTRICT JUDGE




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